Case 2:23-cv-11634-NGE-APP ECF No. 14-6, PageID.91 Filed 08/01/23 Page 1 of 3




                   EXHIBIT E
          Case 2:23-cv-11634-NGE-APP ECF No. 14-6, PageID.92 Filed 08/01/23 Page 2 of 3




From:                       Clinton Mikel
Sent:                       Thursday, July 27, 2023 3:26 PM
To:                         Elizabeth Marzotto Taylor; Adrienne Dresevic; Jonathan Messina
Cc:                         Deborah Gordon; Molly Savage; Sarah Gordon Thomas; Monique Selby
Subject:                    RE: Pensler et al /Request for extension


Hi, Elizabeth,

You keep saying Answer – I am not sure that we are answering/counterclaiming as opposed to filing a Motion to Dismiss
right now. This is one of the reasons we need time, but I neglected to enumerate this below. I thought it was implicit.
Does that change anything?

If you are saying we only get an extra week, unfortunately we will have to file a Motion. I am assuming that you will
oppose. To make sure that there is no question about meeting Local Rules, can we please setup a brief oral meet-and-
confer? If we must waste the Court’s time on this, I want to make sure that we have tried every angle.

Monique – Can you please coordinate for next couple of days?

Thanks, Clinton

                                       Clinton Mikel
                                       Partner
                                       O. (248) 996-8510 M. (313) 600-8587
                                       F. (248) 996-8525
                                       A. 32000 Northwestern, # 240, Farmington Hills, MI 48334
                                       E. cmikel@thehlp.com


The Health Law Partners, P.C., is a Michigan professional corporation.
We operate additional offices in New York as “The Dresevic, Iwrey, Kalmowitz & Pendleton Law Group.”
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From: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent: Thursday, July 27, 2023 2:05 PM
To: Clinton Mikel <CMikel@thehlp.com>; Adrienne Dresevic <ADresevic@thehlp.com>; Jonathan Messina
<jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>
Subject: Re: Pensler et al /Request for extension

    You don't often get email from emt@deborahgordonlaw.com. Learn why this is important

Hi Clinton,
Our office does not provide 45‐day extensions for the purpose of an answer, as doing so would create a disadvantage to
our client. As I explained previously, we would agree to a one‐week extension as a professional courtesy.
                                                                                  1
        Case 2:23-cv-11634-NGE-APP ECF No. 14-6, PageID.93 Filed 08/01/23 Page 3 of 3




From:               Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent:               Thursday, July 27, 2023 4:08 PM
To:                 Clinton Mikel; Adrienne Dresevic; Jonathan Messina
Cc:                 Deborah Gordon; Molly Savage; Sarah Gordon Thomas; Monique Selby
Subject:            RE: Pensler et al /Request for extension


Clinton,
We understood from Adrienne’s email that you were considering a motion. This doesn’t change our position.
Happy to get on with you in any event.

R,


                  Elizabeth M arzotto Taylor|Attorney & C ounselor|
                  D EB O R A H G O R D O N LA W
                  |phone: (248)258-2500
                  |fax: (248)258-7881
                  |w ebsite:ww w .deborahgordonlaw .com




From: Clinton Mikel <CMikel@thehlp.com>
Sent: Thursday, July 27, 2023 3:26 PM
To: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Adrienne Dresevic <ADresevic@thehlp.com>; Jonathan
Messina <jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>; Monique Selby <mselby@thehlp.com>
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                            F. (248) 996-8525

                                                           1
